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FILED

UNITED STATES DISTRICT COURT — AUG 10 2098
DISTRICT OF MONTANA ot
erk, U S District Court
BILLINGS DIVISION District Of Montana
Billings
CV-20-088-BLG-SPW-TJC

DANIEL J. COLVIN,

Plaintiff, ORDER
vs.
GENESIS CARD SERVICES,

Defendant.

 

 

Consent to the jurisdiction of a United States Magistrate Judge having been
either withheld or met with objection,

IT IS HEREBY ORDERED:

1. The case remains assigned to the Honorable Susan P. Watters, United
States District Judge, for all further proceedings and entry of judgment.

2. Pursuant to 28 U.S.C. §636(b)(1)(B), the case is referred to the
Honorable Timothy J. Cavan, United States Magistrate Judge, who will conduct all
necessary hearings and submit to the undersigned proposed findings of fact and
recommendations for the disposition of all motions excepted from the Magistrate
Judge’s jurisdiction by 28 U.S.C. §636(b)(1)(A).

3. The Clerk of Court is directed to forthwith notify the parties of the
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making of this Order.

DATED this 10th day of August, 2020.

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SUSAN P. WATTERS
United States District Judge
